                    Case 1:15-cv-00121-BR Document 53 Filed 03/01/16 Page 1 of 9




 1                                 UNITED STATES DISTRICT COURT FOR THE
                                    WESTERN DISTRICT OF PENNSYLVANIA
 2

 3
               Edinboro College Park,     )
 4             Apartments et al.,         )
                                          )
 5               Plaintiffs,              )                           C.A. No.   15-121 Erie
                                          )
 6               v.                       )
                                          )
 7         Edinboro University Foundation )
           and Julie Wollman,             )
 8                                        )
                 Defendants.              )
 9   ____________________________________)

10
                Plaintiffs Edinboro College Park Apartments—along with several other owners of
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     apartment buildings located near Edinboro University—bring the present action against Defendant
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     Edinboro University Foundation (the “Foundation”) and Defendant Julie Wollman, the President
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14   of Edinboro University. Plaintiffs allege that Defendants “monopolized trade or commerce with

15   respect to student housing at Edinboro University,” and, in doing so, violated the Sherman
16   Antitrust Act, 18 U.S.C. Sections 1-7, (hereinafter, the “Sherman Act”) and tortiously interfered
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     with their business. Doc. No. 31 at 1. Defendants have moved to dismiss Plaintiffs’ Complaint.
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                After reviewing the briefs and all other relevant material properly before the Court, the
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     Court grants the motion to dismiss. The Court’s reasoning follows:
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21                                                     I.       BACKGROUND

22              Edinboro University 1 (the “University”) is a public university located in Edinboro

23   Pennsylvania.         (Doc. No. 31 at para. 7).           The University is a constituent member of the
24   Pennsylvania System of Higher Education (“PASSHE”). (Id.). Defendant Julie Willman is the
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     1
         The University is not named as a Defendant in this action.

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                 Case 1:15-cv-00121-BR Document 53 Filed 03/01/16 Page 2 of 9




     President of the University. (Id. at para. 6). In 2006, the University decided to construct eight
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     new on-campus student-housing facilities, collectively referred to as “the Highlands.” (Id. at paras.
 2

 3   16-17).     At some point, the University determined that it was more efficient to have a private

 4   company build and maintain the Highlands. (Doc. No. 31 at paras. 16 and 19). It did not solicit
 5   bids from private businesses for the construction of the Highlands; rather, the University reached
 6
     out directly to the Foundation 2 and asked it to construct and operate the Highlands. (Id. at 17).
 7
               In 2008, the University and the Foundation entered into an agreement regarding the
 8
     financing, construction, and operation of the Highlands. (Doc. No. 31 at 17). The Pennsylvania
 9

10   Higher Educational Facilities Authority—a governmental authority—agreed to provide the

11   Foundation with two tax-exempt bond issues; the Foundation, in turn, agreed to use these funds to

12   lease on-campus property and pay for the construction and administration of the Highlands. (Id.
13   at paras. 16 and 17). The agreement also contemplated that the Foundation would use the revenue
14
     from the Highlands to repay these bonds. (Doc. No. 31 at paras. 18, 20, 25-30).
15
               In May 2011, the University altered its on-campus residence policy. (Doc. No. 31 at para.
16
     42). The former policy required the majority of first-year and transfer students to reside in
17

18   university-owned housing for two consecutive semesters. (Doc. No. 31 at paras. 43-44). Under

19   the new policy, students were required to live in “university-owned or affiliate housing” for four

20   consecutive semesters or until they have completed 59 credit hours. (Doc. No. 31 at para. 45).
21
     The Highlands is part of this “affiliate housing;” Plaintiffs’ buildings are not.
22
               On May 5, 2015, Plaintiffs filed a complaint against Defendants, alleging that the
23
     arrangement between the University and the Foundation was anticompetitive and, therefore,
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     2
       The Foundation is a non-profit entity founded in August 1998 that exists to benefit the students of Edinboro
     University. (Doc. No. 31 at para. 15).
                                                               2
                    Case 1:15-cv-00121-BR Document 53 Filed 03/01/16 Page 3 of 9




     violated the Sherman Antitrust Act. (Doc. No. 41). According to Plaintiffs, the University gave
 1
     the Foundation an unfair advantage by altering its residency policy, allowing the Foundation to
 2

 3   build on-campus, and providing it with tax-free bonds. Plaintiffs also allege that these actions

 4   constitute tortious interference with contract. 3 (Doc. No. 41 at 23). Defendants have moved for
 5   dismissal. (Doc. No. 36 and 47). Defendants argue that all of the alleged injuries stem from state
 6
     action and, therefore, cannot support a claim for recovery under the Sherman Act.
 7
            II.      CLAIMS UNDER THE SHERMAN ACT
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                  The Sherman Act prohibits every contract, combination, or conspiracy in restraint of
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10   interstate or foreign commerce, including monopolization or attempted monopolization by any

11   person or combination of persons of any part of interstate or foreign commerce. 15 U.S.C. § 1, §

12   2.
13                Plaintiffs assert that Defendants violated the Sherman Act by entering into an anti-
14
     competitive partnership with the University to “unfairly compete against Plaintiffs . . . in the
15
     student housing market in the vicinity of the Edinboro University.” Doc. No. 43, Plaintiff’s
16
     Opposition Brief, at 5. According to Plaintiffs, this partnership gave the Foundation an unfair
17

18   advantage because the Foundation was able to construct student housing facility on-campus and

19   the University “rigged the game” by “imposing student housing restrictions to ensure market share

20   and financial success.” Id. Defendants move to dismiss these claims on the grounds that they are
21
     immune from federal antitrust liability under the state action doctrine articulated by the United
22
     States Supreme Court in Parker v. Brown, 317 U.S. 341 (1943).
23
                  A. Parker Doctrine
24

25


     3
         The Court has supplemental jurisdiction over this claim as it arises out of the Sherman Act claim.
                                                                 3
                Case 1:15-cv-00121-BR Document 53 Filed 03/01/16 Page 4 of 9




             It is clear that the purpose of the Sherman Act “was to suppress combinations to restrain
 1
     competition and attempts to monopolize by [private] individuals and corporations.” Parker v.
 2

 3   Brown, 317 U.S. 341, 351 (1943). Equally clear is that the Sherman Act was not intended to

 4   restrain “state action” or “official action directed by the state.” Id. at 351; A.D. Bedell Wholesale
 5   Co., Inc. v. Phillip Morris, Inc., 263 F.3d 239, 255 (3d Cir. 2001). Rather, Congress chose to
 6
     respect the principle of comity and allowed the states to control their officers and agents in this
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     context. Parker, 317 U.S. at 351. Therefore, a plaintiff may not bring an antitrust claim against a
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     state, nor may it bring a claim against the state’s officers or agents when their activities are directed
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10   by the state. A.D. Bedell Wholesale Co., Inc. v. Phillip Morris, Inc., 263 F.3d 239, 255 (3d Cir.

11   2001) (citing S. Motor Carriers Rate Conference, Inc. v. United States, 471 U.S. 48, 54 (1985)).

12           In order to give effect to Parker, the Third Circuit has extended Parker immunity to the
13   private parties involved in the state action. A.D. Bedell Wholesale Co. v. Philip Morris Inc., 263
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     F.3d 239, 256 (3d Cir. 2001) (“[o]therwise, plaintiffs could sue only the private parties and by
15
     winning antitrust judgments against them, could thwart state policies as if there were no state
16
     immunity”). Id. Accordingly, “if relief is sought solely for injuries as to which the state would
17

18   enjoy immunity under Parker, the private [actor] also enjoys immunity.” Id.; See also Armstrong

19   Surgical Ctr., Inc. v. Muni. of Monroeville, 617 F. Supp. 820, 823 (W.D. Pa. 1985); Alonzo v. Blue

20   Cross of Greater Philadelphia, 611 F. Supp. 310, 314,15 (E.D.Pa. 1984).
21
             Therefore, the question before the Court is two-fold. First, did the University engage in
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     “state action” as defined by the Parker immunity doctrine; second, does the relief sought against
23
     the Foundation relate solely to injuries as to which the University enjoys immunity?
24
             1. The Injuries Resulted From State Action
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                Case 1:15-cv-00121-BR Document 53 Filed 03/01/16 Page 5 of 9




             It is well-established that injuries resulting from “direct state action” are covered by the
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     Parker immunity doctrine. See City of Columbia v. Omni Outdoor Adver., Inc., 499 U.S. 365, 379
 2

 3   (1991). An injury is considered the result of “direct state action” when it is the “direct result of

 4   acts within the traditional sovereign powers of the state.” A.D. Bedell Wholesale Co. v. Philip
 5   Morris Inc., 263 F.3d 239, 256 (3d Cir. 2001). Therefore, there are two requirements for direct
 6
     state action: the state agency must have engaged in the relevant action; and that action must
 7
     concern a traditional area of state power. Id.
 8
             All claims in this case involve the University’s actions. The Pennsylvania Constitution
 9

10   expressly provides that the Pennsylvania General Assembly must “provide for the maintenance

11   and support of a thorough and efficient system of public education to serve the needs of the

12   Commonwealth.” Pa. Const. Art. III, Sect. 14. To that end, the General Assembly created
13   Pennsylvania State System of Higher Education (“PASSHE”). Pa. C.S.A. Section 20-2002-A(a).
14
     The General Assembly charged “each [PASSHE] institution” with providing “appropriate
15
     educational facilities [and] student living facilities.” 24 P.S. Section 20-2003-A(a). In order to
16
     help PASSHE institutions to achieve that goal, it gave each on the power to “acquire, purchase,
17

18   hold, lease as lessee and use any property, real, personal or mixed, tangible or intangible, necessary

19   or desirable for carrying out the purpose of the system.” 24 P.S. Section 20-2003-A(b). The

20   University is a PASSHE institution. Accordingly, there can be no dispute that the University is
21
     “an arm of the state by way of its affiliation with the PASSHE.” See, e.g. Bartlett v. Kutztown
22
     Univ., 2015 Dist. LEXIS 21665 (E.D. Pa. Feb. 23, 2015); Wynne v. Shippensburg University 639
23
     F.Supp. 76, 82 (M.D. Pa. 1985). See also Board of Governors of University of North Carolina v.
24
     Helpingstone, 714 F. Supp. 167 (M.D. N.C. 1989) (public university immune from antitrust
25
     liability). In fact, Plaintiffs do not dispute that the University is a state entity. (Doc. No. 43 at 7).

                                                        5
                 Case 1:15-cv-00121-BR Document 53 Filed 03/01/16 Page 6 of 9




              Nor can there be any doubt that the provision of student housing concerns an area of
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     traditional state power. It is well-established in the Third Circuit that the maintenance of a
 2

 3   “thorough and efficient system” of public higher education is a traditional state function. See

 4   Skehan v. State System of Higher Education, 815 F.2d 244, 248 (3d Cir. 1987) (“Providing
 5   education has long been recognized as a function of state government.”). Moreover, as discussed
 6
     supra, the General Assembly created PASSHE to discharge its constitutional obligations and
 7
     expressly charged each PASSHE institution with a specific task: provide “appropriate educational
 8
     facilities [and] student living facilities.” Pa. C.S.A. Section 20-2002-A(a); 24 P.S. Section 20-
 9

10   2003-A(a). 4

11            In light of these clear constitutional and statutory obligations, there can be no doubt that

12   the University’s actions regarding the provision of on-campus housing to its students falls well
13   within the scope of the Parker immunity doctrine.
14
              2. The Foundation Shares the University’s Immunity
15
              Private parties are entitled to antitrust immunity for the role they play in a state action;
16
     therefore, “if the relief is sought solely for injuries as to which the state would enjoy immunity
17

18   under Parker, the private [actor] also enjoys immunity.” See also Armstrong Surgical Ctr., Inc. v.

19   Muni. of Monroeville, 617 F.Supp. 820, 823 (W.D. Pa. 1985); Alonzo v. Blue Cross of Greater

20   Philadelphia, 611 F. Supp. 310, 314-15 (E.D. Pa. 1984). If, however, the plaintiff identifies
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     injuries that are separate and apart from the state’s actions, then immunity does not apply. Id.
22

23

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     4
25    Plaintiffs argue that the University was not fulfilling a state function because its actions were limited to its own
     campus. This argument is clearly meritless. Not only do Plaintiffs fail to provide any legal support for this
     argument, but also it is clear that each PASSHE member is considered a state entity. Therefore, the action of each
     university amounts to state action.

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                   Case 1:15-cv-00121-BR Document 53 Filed 03/01/16 Page 7 of 9




              Defendants are entitled to the same immunity enjoyed by the University because every
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     antitrust violation alleged in the Complaint arises directly from Defendants’ partnership with the
 2

 3   University. In fact, the core allegations in this case—such as failing to seek bids, offering the

 4   Foundation an on-campus lease, providing the Foundation with financing through their tax-exempt
 5   bond issues, and altering the on-campus resident policy—concern actions undertaken by the
 6
     University itself. Accordingly, Defendants are entitled to Parker immunity. 5
 7
              3.    Market Participant Exception
 8
              Plaintiffs further argue that neither the University nor Defendants are entitled to Parker
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10   immunity because the University was not acting in its sovereign capacity. Rather, according to

11   Plaintiffs, the University was acting as a competitor in the student housing market and, therefore,

12   is barred from immunity under the “market participant” exception. Defendants counter that there
13   is no “market participant” exception to Parker immunity and, in any event, such an exception
14
     would not apply on the facts of the case.
15
              Neither the Supreme Court nor the Third Circuit have recognized a “market participant”
16
     exception to Parker immunity. 6 In fact, every Circuit to address the issue has rejected this theory.
17

18   See Automated Salvage, 155 F.3d at 80 (“market participant exception” did not apply); Limeco,

19   Inc. v. Div. of Lime of Mississippi Dep’t of Ag. &Comm., 778 F.2d 1086, 1086-87 (5th Cir. 1985)

20   (Congress did not intend for Sherman Act to restrict state actions); See also FTC v. Phoebe Putney
21
     Health Sys., Inc. 133 S.Ct. 1003, 1010 n. 4 (2013) (declining amicus curiae’s request to “recognize
22
     5
23     Plaintiffs’ briefing is very unclear on this point. Plaintiffs assert that the relief sought does not relate solely to the
     University’s state action and then mention A.D. Bedell in passing. However, A.D. Bedell is completely inapposite.
24   A.D. Bedell involved allegations that private actors abused a regulatory system in order to create a cartel. The Third
     Circuit found that the private actors were not involved in any direct state action on the grounds that the state only set
25   up the regulatory regime and did not monitor or control any actions once that regime was in place. A.D. Bedell
     Wholesale Co. v. Philip Morris Inc., 263 F.3d 239, 258 (3d Cir. 2001).
     6
       Plaintiffs claim that several courts have adopted this exception. However, each of Plaintiffs’ citations concern
     mere dicta.
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                 Case 1:15-cv-00121-BR Document 53 Filed 03/01/16 Page 8 of 9




     and apply a ‘market participant’ exception to the state-action immunity” suggests that such an
 1
     exception is not available).
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 3             However, the Court need not decide whether the market participant exception is available

 4   as a matter of law to resolve this case. Even assuming that the market participant exception applied
 5   in the Third Circuit, it clearly would not apply to the case at hand. Nothing in the Complaint
 6
     suggests that the University was acting outside its sovereign capacity. Rather, as set forth supra,
 7
     each of the alleged injuries stem directly from the University’s attempts to discharge its
 8
     constitutional and statutory obligations to provide proper education and housing. See, e.g. 24 P.S.
 9

10   Section 20-2003-A(a). Such acts are clearly traditional state functions and, therefore, the market

11   participant exception clearly does not apply.

12      III.      TORTIOUS INTERFERENCE CLAIM
13             The Court had jurisdiction over the tortious interference claim pursuant to 28 U.S.C.
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     Section 1367 because the claim arose out of the same case or controversy as the Sherman Act
15
     claims. While Section 1367 states that a district court may exercise supplemental jurisdiction over
16
     non-federal claims arising from the same case or controversy as a federal claim, the decision as to
17

18   whether to exercise such jurisdiction is discretionary. De Asencio v. Tyson Foods, Inc., 342 F.3d

19   301, 308 (3d Cir. 2003), as amended (Nov. 14, 2003).

20             The Sherman Act claim—the only federal claim in this case—has been dismissed.
21
     Accordingly, the Court finds that the exercise of jurisdiction over the state law claim will not
22
     promote judicial economy or efficiency; rather, this claim is better suited for state court. United
23
     Mine Workers of Am. v. Gibbs, 383 U.S. 715, 726 (1966) (supplemental jurisdiction exists to
24

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                                                      8
                   Case 1:15-cv-00121-BR Document 53 Filed 03/01/16 Page 9 of 9




     promote judicial economy). Therefore, the Court will exercise its discretion to decline jurisdiction
 1
     over the state law claim. 7
 2

 3         IV.      CONCLUSION AND ORDER

 4         For the reasons set forth above, it is HEREBY ORDERED that:
 5         1. Defendants’ Motion to Dismiss is GRANTED; and
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           2. Plaintiffs’ Complaint is DISMISSED.
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10
                                                                     BARBARA J. ROTHSTEIN
11                                                                   UNITED STATES DISTRICT JUDGE
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         The Court finds it unnecessary to reach the parties’ Noerr-Pennington arguments.
                                                                9
